                       UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF ALABAMA
                               NORTHERN DIVISION



 In the Matter of:                                   }
 JIT INDUSTRIES, INC.                                }   CASE NO. 18-80892-CRJ-11
                                                     }
                         Debtor(s).                  }    CHAPTER 11

 JIT INDUSTRIES, INC.,                               }   AP NO. 18-80069-CRJ-11
                         Plaintiff(s),               }
         v.                                          }
                                                     }
 WELLS FARGO FINANCIAL                               }
 LEASING, INC., et al.,                              }
                                                     }
                         Defendant(s).               }



                ORDER SCHEDULING EVIDENTIARY HEARING ON
       PLAINTIFF’S MOTION TO DISMISS COMPLAINT WITHOUT PREJUDICE
            AS TO DEFENDANT AMERICAN EXPRESS AND MOTION BY
                   AMERICAN EXPRESS TO ESTABLISH CLAIM
                 AS ALLOWED TO PERMIT LATE-FILED CLAIM

         This Adversary Proceeding came before the Court on November 20, 2018 for hearing on Plaintiff’s
 Motion to Dismiss Complaint Without Prejudice as to Defendant American Express and Motion by
 American Express National Bank to Establish its Claim as Allowed to Permit Late-Filed Claim. Appearing
 at the hearing were Tazewell Taylor Shepard, IV, Esq., counsel for the Plaintiff; Michael Harrison, Esq.,
 counsel for American Express National Bank (hereinafter “American Express”); and Angela Ary, Esq.,
 counsel for JIT Military Sales.
         Prior to the hearing, the Court reviewed and considered the Debtor’s Brief Arguing Service on
 Counsel for Creditor is Sufficient Notice to Creditor of the Claims Bar Date and American Express’s Brief
 in Support of its Motion to Establish its Claim as Allowed and to Permit Late-Filed Claim. The Court
 having determined that service on counsel for American Express was sufficient notice of the claims bar
 date, the Court finds that this Adversary Proceeding should be scheduled for an Evidentiary Hearing to
 determine whether a finding of excusable neglect is warranted under the circumstances of this case.
         IT IS THEREFORE ORDERED, ADJUDGED AND DECREED as follows:
         1. The parties must file a Joint Stipulation of Undisputed Facts and Disputed Issues and
 Witness and Exhibit lists on or before Monday, January 7, 2019, by 12:00 p.m., Noon, CDT.




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         2. The Motion to Dismiss Complaint Without Prejudice as to Defendant American Express and
 the Motion by American Express to Establish its Claim as Allowed to Permit Late-Filed Claim are hereby
 scheduled for an Evidentiary Hearing on the issue of excusable neglect on Monday, January 14, 2019 at
 10:00 a.m. before the Honorable Clifton R. Jessup, Jr. at the United States Bankruptcy Court, 400 Well
 Street, Decatur, AL 35601.
         3. Charles N. Parnell, Esq., prepetition counsel for American Express (hereinafter “Pre-Petition
 Counsel”), and Becket & Lee LLP, bankruptcy counsel for American Express (hereinafter “Bankruptcy
 Counsel”), are directed to appear at the Evidentiary Hearing to provide testimony regarding the following
 issues: (i) whether Pre-Petition Counsel provided American Express and/or Bankruptcy Counsel with the
 information he received from the Debtor’s bankruptcy counsel; (ii) whether Bankruptcy Counsel reasonably
 assumed that the Court had not established a bar date for filing proofs of claims or should have checked the
 Docket or contacted counsel for the Debtor; and (iii) any other evidence regarding the basis for American
 Express’s argument regarding excusable neglect.



 Dated this the 21st day of November, 2018.

                                                           /s/ Clifton R. Jessup, Jr.
                                                           Clifton R. Jessup, Jr.
                                                           United States Bankruptcy Judge




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